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17
                       IN THE UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                   SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and           )
22      CERCACOR LABORATORIES, INC.,          ) MASIMO'S RESPONSE TO
        a Delaware corporation                ) APPLE'S SUPPLEMENTAL BRIEF
23                                            ) REGARDING DISCOVERY ON
                 Plaintiffs,                  ) AIRPODS ROYALTIES
24                                            )
            v.                                ) Date:        N/A
25                                            ) Time:        N/A
        APPLE INC., a California corporation )) Location: Courtroom 10C
26                                            )
                 Defendant.                   )
27                                            )
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                         PROPOSED TO BE FILED UNDER SEAL
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1                                       I. INTRODUCTION
2            Apple’s “Supplemental Brief” seeks reconsideration of the Court’s Order
3      granting AirPods discovery. Apple also seeks bifurcation, continuance of the trial, and
4      reopening of fact and expert discovery. Apple filed no such motion. Nor has Apple
5      attempted to identify, much less satisfy, the legal requirements for any of those requests.
6      Indeed, Apple admits that it cites no authority whatsoever in its Supplemental Brief.
7            Apple’s Supplemental Brief ignores the Court’s holding that Apple withheld
8      175,000    pages     of   discovery—including     the   pages   that   revealed   Apple’s
9      misappropriation of         in AirPods—until after the close of fact discovery. Apple’s
10     assertion that Masimo delayed in bringing its misappropriation allegations is refuted by
11     the Court’s finding that Masimo was diligent. Apple does not even address that finding,
12     much less show that the Court should reconsider it.
13           Rather than address the standards for reconsideration, Apple rehashes arguments
14     it already made. For example, Apple argues the Court erred because Masimo cannot
15     possibly establish misappropriation of        based on the AirPods because the AirPods
16     do not calculate a                                 But Apple’s own witnesses confirmed
17     that the AirPods do satisfy that requirement. They also confirmed that they obtained
18           from Lamego, during what Apple refers to as                         Regardless, the
19     law expressly provides that Apple can still misappropriate Masimo’s trade secrets by
20     modifying them before use. Nothing supports Apple’s assertion that it is free to
21     misappropriate Masimo’s trade secrets by simply using them in a product other than the
22     Apple Watch.
23           Apple claims it was surprised in January by Masimo’s AirPods theory. But
24     Apple’s own expert provided a responsive report on November 4, 2022, specifically
25     addressing AirPods’ misappropriation on          . Apple also deposed Masimo’s expert
26     on his analysis that Apple used          in developing the AirPods. The Court should
27     decline Apple’s request to modify the Court’s Order.
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1       II. APPLE’S “SUPPLEMENTAL BRIEF” IS PROCEDURALLY IMPROPER
2               On February 3, 2023, the Court issued its Order granting Masimo’s request for
3      limited discovery on AirPods royalties. See Dkt. 1109 (Apple’s Ex. P). At the hearing
4      on February 6, 2023, Apple recognized that “Your Honor ruled that that was a final order
5      and did not want to hear argument,” but then Apple curiously added that “we certainly
6      want to be respectful of Your Honor’s guidance on that.” Ex. 24 at 47:13-15 (emphasis
7      added). Apple claimed that it had “concerns with the implications of this order for the
8      trial.” Id. at 47:16-18. The Court then allowed this filing. But, rather than address how
9      the Order will affect trial, Apple seeks reconsideration.
10              As explained below, the Court should reject Apple’s request regardless of whether
11     Apple’s “Supplemental Brief” is treated as (i) a motion for reconsideration, (ii) a request
12     to amend the Scheduling Order, or (iii) an untimely sur-reply after issuance of a final
13     order.
14     A.       Apple’s Brief Is An Improper Motion For Reconsideration
15              Apple’s Supplemental Brief asks this Court to “deny Plaintiffs’ motion
16     outright[.]” Br. at 12:10; see also id. at 3:4 (“if this Court’s order stands”). However,
17     Apple does not cite—much less satisfy—the legal standards for seeking reconsideration.
18     Asserting the Court’s decision was “simply wrong” is “not a permissible ground for
19     reconsideration under Local Rule 7-18.” Ketab Corp. v. Mesriani Law Group, 2015 WL
20     2084469, at *3 (C.D. Cal. May 5, 2015). Likewise, a motion for reconsideration “may
21     not be made on the grounds that a party disagrees with the Court’s application of legal
22     precedent.” See Pegasus Satellite Television, Inc. v. DirecTV, Inc., 318 F. Supp. 2d 968,
23     981 (C.D. Cal. 2004). The Local Rules provide:
24              A motion for reconsideration of an Order on any motion or application may
25              be made only on the grounds of (a) a material difference in fact or law from
26              that presented to the Court that, in the exercise of reasonable diligence,
27              could not have been known to the party moving for reconsideration at the
28              time the Order was entered, or (b) the emergence of new material facts or a
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1            change of law occurring after the Order was entered, or (c) a manifest
2            showing of a failure to consider material facts presented to the Court before
3            the Order was entered. No motion for reconsideration may in any manner
4            repeat any oral or written argument made in support of, or in opposition to,
5            the original motion.
6      L.R. 7-18. Apple does not satisfy any of these requirements. Instead, Apple improperly
7      rehashes prior arguments and raises new arguments it chose not to pursue.
8            1.     Apple Fails to Satisfy Local Rule 7-18(a), (b), or (c)
9            Apple makes no attempt to identify any new facts or change in law that Apple
10     could not have identified through reasonable diligence, or that emerged only after the
11     Order was entered. Similarly, Apple never attempts to identify any “material” change
12     in fact or law. Having failed to identify any new material facts or law, Apple cannot
13     satisfy Local Rule 7-18(a) or (b). See Walker v. Life Ins. Co. Of the Sw., 2018 WL
14     5892163, at *3 (C.D. Cal. Oct. 22, 2018) (denying reconsideration because factual error
15     was not “material”); Union Pac. R.R. Co. v. Coast Packing Co., 236 F. Supp. 2d 1130,
16     1138 (C.D. Cal. 2002) (same).
17           Apple also has not identified a “manifest showing of a failure to consider material
18     facts presented to the Court before the Order was entered.” See Local Rule 7-18(c). As
19     this Court has explained, “[r]econsideration for manifest failure is an extraordinary
20     remedy, to be used sparingly in the interests of finality and conservation of judicial
21     resources.” Walker, 2018 WL 5892163, at *3 n.2 (internal quotation omitted); see also
22     Audionics Sys., Inc. v. AAMP of Fla., Inc., 2015 WL 11201243, at *13 (C.D. Cal. Nov.
23     4, 2015). Apple’s “mere disagreement with the court’s application of law to facts is not
24     a manifest showing of a failure to consider material facts by the court.” Haitayan v. 7-
25     Eleven, Inc., 2020 WL 3213816, at *2 (C.D. Cal. May 18, 2020); Aventis Pharms SA v.
26     Amphstar Pharm., Inc., 2005 WL 5957795, at *2 (C.D. Cal. Mar. 25, 2005) (“[W]hile
27     [defendant] may disagree with the court’s application of the facts to the law, there is not
28     a ‘manifest showing of a failure to consider material facts’ by the court.”); Broemer v.
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1    Fed. Bureau of Investigation, 2009 WL 10672574, at *3 (C.D. Cal. Aug. 31, 2009) (“no
2    manifest showing that the court failed to consider material facts”).
3          2.      Apple Improperly Repeats Its Prior Arguments
4          Apple also improperly repeats prior arguments. See L.R. 7-18 (“No motion for
5    reconsideration shall in any manner repeat any oral or written argument made in support
6    of or in opposition to the original motion.”) For example, Apple’s Supplemental Brief
7    repeats the following arguments from Apple’s Opposition:
8           Masimo purportedly knew AirPods used                based on the June 2022 Fu
9               deposition. Compare Dkt. 1224 at 7-8 with Dkt. 1278-1 at 9-10;
10          Masimo purportedly did not mention “AirPods” in discovery requests or
11              responses before close of fact discovery. Compare Dkt. 1224 at 1-2, 10 with
12              Dkt. 1278-1 at 3-4;
13          Masimo disclosed the “AirPods” liability theory in a supposedly “belated”
14              November 2022 supplemental expert report. Compare Dkt. 1224 at 6 with
15              Dkt. 1278-1 at 5;
16          Masimo purportedly refused to explain its contentions in a November 2022
17              email exchange, and did so for the first time in January 2023. Compare Dkt.
18              1224 at 6 with Dkt. 1278-1 at 6-8; and
19          AirPods supposedly do not make                                       Compare
20              Dkt. 1224 at 11 with Dkt. 1278-1 at 9-11.
21         Courts routinely reject similar requests for reconsideration where a party makes
22   the same arguments it made in the underlying motion. See Kinetics Noise Control, Inc.
23   v. ECORE Int’l, Inc., 2011 WL 940335, at *3 (C.D. Cal. Mar. 14, 2011) (denying
24   reconsideration where plaintiff “recites the arguments that [it] made in response to
25   Defendant’s Motion to Dismiss”); Watanabe v. Home Depot USA, Inc., 2003 WL
26   24272634, at *2 (C.D. Cal. Aug. 26, 2003) (“In the present matter, Defendant improperly
27   argues the exact same points it raised in its previously filed Motion for Summary
28   Judgment”); Aventis Pharms S A, 2005 WL 5957795, at *2 (defendant “does exactly
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1    what Local Rule 7-18 prohibits[,] repeating arguments made in its original opposition”);
2    Henderson v. J.M. Smucker Co.,, 2013 WL 12113446, at *3 (C.D. Cal. Nov. 20, 2013)
3    (finding arguments “improper because they were previously raised”).
4          Apple merely “remind[s] the Court of the evidence before it on” Masimo’s prior
5    motion. Ellis v. Pennsylvania Higher Education Assistance Agency, 2008 WL 4351746,
6    at *5 (C.D. Cal. Sept. 23, 2008). Thus, Apple’s request is improper.
7          3.     Apple’s New Arguments Do Not Justify Reconsideration
8          Even if some of Apple’s arguments were new, Apple could not satisfy Local
9    Rule 7-18 by presenting “argument[s] which [it] clearly could have made earlier, but did
10   not.” Union Pac. R.R. Co., 236 F. Supp. 2d at 1137-38; InfoSpan, Inc. v. Emirates NBD
11   Bank, 2015 WL 13404114, at *3 (C.D. Cal. Aug. 10, 2015). Apple seeks a variety of
12   alternative relief that it never sought in its Opposition. For example, Apple asks the
13   Court to bifurcate trial of Apple’s misappropriation of      (not merely use of        in
14   AirPods) or continue the trial, reopen fact and expert discovery, and reopen summary
15   judgment. Br. at 3:6-17, 11:16-17.1
16         Apple could have raised any of these proposals in its Opposition. Apple chose
17   not to. Instead, Apple made a tactical decision to oppose Masimo’s motion without
18   offering any alternative or potential compromise. Having now lost the motion, Apple
19   cannot use a supplemental filing to ask the Court to consider new proposals that Apple
20   could have presented earlier. “Reconsideration is not a second bite at the apple.”
21   Haitayan v. 7-Eleven, Inc., 2020 WL 3213816, at *2 (C.D. Cal. May 18, 2020).
22   B.    Apple’s Brief Is Also An Improper Motion To Amend The Schedule
23         Apple’s Supplemental Brief asks the Court to bifurcate trial of Apple’s
24   misappropriation of       (not merely use in AirPods) or continue the trial, reopen fact
25
     1
       Bifurcating Masimo’s claims as Apple proposes may violate Masimo’s Seventh
26   Amendment rights under the Reexamination Clause. In re Rhone-Poulenc Rorer, Inc.,
27   51 F.3d 1293, 1302-03 (7th Cir. 1995) (“The right to a jury trial in federal civil cases,
     conferred by the Seventh Amendment, is a right to have juriable issues determined by
28   the first jury impaneled to hear them…and not reexamined by another finder of fact.”).
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1    and expert discovery, and reopen summary judgment. Br. at 3:6-17, 11:16-17.
2          Any of this relief would first require amending the Scheduling Order. But Apple
3    does not mention, much less satisfy, the standard for amending the schedule.
4    Specifically, Apple would have to show “good cause” for relief from the scheduling
5    order. Fed. R. Civ. P. 16(b)(4). The good cause standard “primarily considers the
6    diligence of the party seeking the amendment.” Johnson v. Mammoth Recreations, Inc.,
7    975 F.2d 604, 609 (9th Cir. 1992). Good cause requires showing that the scheduling
8    deadline could not “reasonably be met despite the diligence of the party seeking the
9    extension.” Id. Apple does not and cannot make any such showing.
10         For example, Apple fails to explain why it could not have included its AirPods
11   arguments in its recent summary judgment motion. In that motion, Apple argued it was
12   not liable for misappropriating             because (1) Masimo failed to establish
13   possession/ownership and (2)        claims a general idea. Dkt. 1083 at 6-8, 16-19. After
14   Apple reviewed the Court’s order granting AirPods discovery, reviewed the tentative
15   order rejecting both of Apple’s summary-judgment arguments regarding                , and
16   listened to the Court’s reaction to oral argument, Apple pivoted to arguing that the “only
17   just alternative” is to upend the case schedule. Br. at 11. That is the opposite of
18   diligence. Nor does Apple establish good cause for filing a third summary judgment
19   motion. See Dkt. 524 and 1083; see also Dkt. 606 (“The Court cautions that it will not
20   consider more than one summary judgment per side absent prior application and
21   approval by the Court at least seven days in advance of the filing date.”).
22         Apple also fails to show diligence in seeking to “reopen fact and expert
23   discovery.” Br. at 11. Apple does not even acknowledge the impact of its decision to
24   withhold over 175,000 documents until after the close of discovery. Nor is there any
25   need to reopen fact or expert discovery. Apple is in full possession of all information
26   relevant to the design and development of its AirPods. Moreover, its expert, Warren,
27   already offered rebuttal opinions addressing       with respect to AirPods on November
28   4, 2022. Ex. 30 at ¶¶171 (“Dr. Madisetti’s November 2, 2022 Supplemental Report
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1    addressing Dr. Zheng’s deposition testimony does not impact my analysis above”), 181
2    (“In his November 2, 2022 Supplemental Report, Dr. Madisetti cites to Dr. Zheng’s
3    deposition testimony to assert that Apple is using this alleged trade secret ‘in the
4             ’” and “[m]y analysis above applies equally to
5                                                184.
6          Warren further reserved the right to supplement his report to address additional
7    evidence or the “Supplemental Report of Dr. Madisetti.”                 Id. at ¶732.   On
8    November 12, 2022, Warren served a supplement, but did not add additional opinions
9    regarding        AirPods, or the Madisetti Supplemental Report.
10   C.    Apple’s Brief Is Also An Improper Sur-Reply
11         To the extent Apple’s Supplemental Brief is merely a sur-reply, it is irrelevant
12   because the Court already issued its final Order. As discussed above, Apple presents a
13   mixture of arguments it already presented in opposition to the underlying Motion and
14   arguments Apple could have but chose not to raise earlier. Neither would be a proper
15   basis for a sur-reply. Apple does not assert that Masimo raised new arguments in its
16   Reply, or that the Court granted the Motion based on grounds not raised in the briefing.
17   Apple simply expresses its unhappiness with having lost as a result of its own decision
18   to withhold 175,000 pages until after the close of fact discovery.
19   D.    Apple Chose Not To Move For Summary Judgment On AirPods
20         Dr. Madisetti provided his supplemental report on November 2, 2022, addressing
21   AirPods’ misappropriation of              Ex. 20. He explained that
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4    Id. at 8, 2                                          (internal citation omitted).
5           He also summarized his explanation from his September 23, 2022, expert report
6    that
7
8
9
10          Apple’s expert, Warren, provided his rebuttal report on November 4, 2022. Ex.
11   30 at 383. Warren responded to Madisetti’s supplemental report, including
12
13             Id. at ¶184. Warren opined that Apple’s documents and testimony identified
14   by Madisetti “does not establish that Apple
15
16
17
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19
20
21                   Id.
22          But in his December 9, 2022, deposition, Warren admitted that
23                                                                    Ex. 31 at 672:5-8
24
25
26   Apple’s senior manager of sensing hardware, Brian Land, also testified that the
27
28                                  Ex. 25 at 170:9-172:21.
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1          Consistent with those factual disputes, Apple elected not to challenge Madisetti’s
2    supplemental opinions via summary judgment, motion to strike, or Daubert—even
3    though the deadlines for such motions were months after Apple served Warren’s report
4    responding to Madisetti’s supplemental opinions. Apple now argues that Masimo lacks
5    sufficient evidence to establish AirPods use          But if that were the case, then Apple
6    could have sought summary judgment under Celotex, as it did on numerous other issues.
7    Apple did not. Apple now requests a mulligan to present untimely motions regarding
8    AirPods liability. But Warren’s November 4 rebuttal report belies Apple’s new attempt
9    to feign surprise that Madisetti addressed AirPods’ misappropriation.
10         Apple also asserts that “Plaintiffs have argued that Apple has somehow ‘waived’
11   the right to challenge their belated AirPods liability theory[.]” Br. at 10. Plaintiffs said
12   no such thing. Masimo simply pointed out that Apple declined to challenge liability via
13   summary judgment, Daubert, or motion to strike, by the respective deadlines. Those
14   issues will now go to the jury. That is consistent with Apple’s acknowledgment that
15   whether the AirPods use          is a question for the jury. See Ex. L at 1.
16                        III. APPLE’S ASSERTIONS ARE FALSE
17         The Court may also reject Apple’s arguments because Apple’s representations
18   and assertions are inaccurate.
19   A.    Apple Argues Based on False Assertions
20         The major premise of Apple’s arguments is that “Plaintiffs’ briefing repeatedly
21   (and misleading) implied that discovery has yielded sufficient evidence for Plaintiffs to
22   permissibly argue liability in front of the jury.” Br. at 9:2-4. There was nothing
23   “misleading” about Masimo’s briefing, and Masimo did not “imply” it has sufficient
24   evidence to prove misappropriation—Masimo expressly stated it. That is why Masimo
25   did not seek additional discovery regarding liability and sought discovery regarding
26   reasonable royalty only.
27         Apple’s Supplemental Brief asserts that “there is not even a remotely colorable
28   theory of liability that would connect AirPods to Plaintiffs’ alleged trade secrets.” Br.
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1    at 1:12-13; id. at 2:6-7 (“Plaintiffs failed to properly disclose any colorable liability
2    theory for the AirPods, nor could they have.”). Apple’s assertions are false.2
3          1.     Apple Represented To The Court That AirPods Merely Sense
4                 Proximity And Do Not
5          Apple asserts two deficiencies in Masimo’s arguments. First, Apple argues that
6    AirPods merely perform an old technology called “proximity sensing.” Second, Apple
7    argues that AirPods do not perform                                    Apple made these
8    assertions at the recent hearing and repeated them in its Supplemental Brief.
9          Apple represented to the Court that Apple’s AirPods use an old technology called
10   “proximity sensing.” Hr. Tr. at 49:2-3
11
12         Apple also represented that there is no “colorable theory” under which Apple’s
13   AirPods make any                                   .   Id. at 48:11-14; id. at 49:4-7
14
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18         Apple makes the same inaccurate assertions in its Supplemental Brief. See Br. at
19   2:7-10
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21
22                        Masimo explains below that the testimony of multiple Apple
23   witnesses repudiates Apple’s assertions.
24         2.     Apple Testified That AirPods Do Not Rely On Proximity Sensing
25         Apple’s own documents and testimony refute Apple’s representations that
26
     2
27     If Masimo’s evidence were so clearly insufficient that no jury could possibly find
     misappropriation, Apple presumably would not try to reopen discovery to potentially
28   allow Masimo to cure the alleged deficiencies.
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1          3.    Apple Engineers Testified AirPods
2
3          Apple’s Senior Director of Human Interface Device Software, Mr. Fu, admitted
4    that AirPods measure a                           Ex. 19 at 49:15-51:6. Apple tries to
5    downplay this testimony by characterizing it as “a passing comment” and asserting that
6    Masimo ignores “the context of the that statement.” Br. 9:22-23. The relevant exchange
7    is below:
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16   Ex. 19 at 49:15-51:6.
17         Mr. Fu’s testimony that AirPods                                        is further
18   supported by Land’s testimony (on behalf of Apple) that AirPods
19                   and the opinions of Masimo’s expert. Ex. 25 at 170:19-172:21.
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1          4.     Apple Fails To Distinguish Between AirPod Models
2          Apple asserts that, “[s]ince they were introduced six years ago, AirPods have used
3    a ‘proximity sensor’ to determine if either earpiece is in the user’s ear, which allows the
4    AirPods to automatically turn off or on as needed.” Br. at 4:25-27. As discussed above,
5    that is not accurate.   Indeed, Apple’s own website discloses that AirPods (Third
6    Generation) and AirPods Pro (Second Generation) have a “Skin detect sensor” while
7    earlier version merely have “Dual optical sensors.” Ex. 26. An image from Apple’s
8    website is below.
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17   Id. (highlighting added); see also Exs. 27 (2021 press release announcing “new skin-
18   detect sensor), 28 (“2022 press release announcing “improved, built-in skin-detect
19   sensor”).
20         Indeed, Apple admits that, while “[t]he proximity sensor was prominently
21   featured in the original marketing for the AirPods,” Apple issued a press release in
22   October 2021 describing AirPods’ new “skin-detect sensor.” Br. at 4:27-5:4. Apple
23   misappropriated Masimo’s            trade secret in developing this new skin detection
24   sensor. Thus, Apple’s references to old “proximity sensing” are irrelevant.
25         5.     Apple Filed A Patent On Its Skin Sensing Technology
26         Apple’s own patent filings confirm Apple’s skin sensing technology in the
27   AirPods is different than traditional “proximity sensing.” In 2021, Apple filed a patent
28   application for “Electronic Devices with Skin Sensors.” Ex. 29. The Abstract recites
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1    “[a] wearable electronic device such as an earbud, wristwatch, or other device may be
2    provided with a skin sensor” that uses “optical measurements to detect the presence of
3    skin” and may have “first and second light-emitting devices … that emit light as
4    respective first and second infrared light wavelengths.” Id. Apple would not seek patent
5    protection on old “proximity sensing” technology.
6    B.    Apple’s Arguments are Legally Irrelevant
7          Apple argues it is free to misappropriate       as long as Apple uses it in a slightly
8    different context. That is not the law. In SkinMedica, Inc. v. Histogen Inc., 869 F. Supp.
9    2d 1176 (S.D. Cal. 2012), the court rejected the defendant’s argument that it did not
10   misappropriate the trade secrets “because it does not use several of the claimed
11   elements.” Id. at 1197. The Court explained “this argument misunderstands the law on
12   this point” because “information may be improperly ‘used’ in that it is unlawfully
13   acquired and then built upon or modified before being disclosed or benefit derived.”
14   Id. (emphasis added); see also BladeRoom Grp. Ltd. v. Facebook, Inc., 2018 WL
15   514923, at *9 (N.D. Cal. Jan. 23, 2018) (a reasonable jury could find misappropriation
16   based on defendants’ use of a technique “closely resembling” plaintiff’s technology);
17   Speed Tech. Assocs. v. Adaptive Commc’n Sys., 1994 WL 449032, at *10 (N.D. Cal.
18   Aug. 16, 1994) (finding trade secret misappropriation based on derivation from the trade
19   secrets); American Can Co. v. Mansukhani, 742 F.2d 314, 328-29 (7th Cir. 1984) (“[A]
20   party may not use another’s trade secret, even with independent improvements or
21   modifications, so long as the product or process is substantially derived from the trade
22   secret. . . . If the law were not flexible enough to reach such modifications, trade secret
23   protection would be quite hollow.”).
24   C.    Apple’s Accusations Toward Masimo Are False
25         Apple’s Supplemental Brief also makes various accusations that ignore Apple
26   created the present dispute by improperly withholding throughout fact discovery critical
27   information showing AirPods use             The Court already determined that Masimo
28   diligently developed and disclosed its theories regarding AirPods’ use of              after
                                     -14-
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1    Apple produced 175,000 pages after the close of fact discovery. Order [Dkt. 1267] at 4-
2    5. Instead of acknowledging its own wrongdoing, Apple falsely accuses Masimo of
3    delay. Masimo responds to Apple’s false accusation below.
4          1.    Masimo Diligently Discovered And Disclosed Its Theories
5          Apple complains that Masimo did not supplement its response to Interrogatory
6    No. 10 (regarding Apple’s misappropriation) to identify that AirPods use       See Br.
7    at 4:5-8. But the Court specifically found that “Plaintiffs were diligent” in view
8    “Apple’s 175,000 page production following the close of fact discovery.” Dkt. 1109 at
9    4. Moreover, Rule 26(e) expressly states that there is no obligation to supplement
10   discovery responses where the information has “otherwise been made known to the other
11   parties during the discovery process or in writing[.]” Fed. R. Civ. P. 26(e)(1)(A).
12   Masimo made its contention that AirPods misappropriate            known to Apple “in
13   writing” via Dr. Madisetti’s Supplemental Report.       Thus, there was no need to
14   supplement the interrogatory response to include the same information. Indeed, neither
15   party supplemented interrogatory responses to incorporate the contents of their expert
16   reports.
17         2.    Apple Misleads With The Parties’ Emails
18         Apple complains about how long it took Masimo to respond to a question in an
19   email, but Apple ignores the context of the parties’ discussions and improperly splices
20   together two separate email threads.
21         Apple cites a November 2022 email thread that were addressing Masimo’s request
22   that Apple produce
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4          In an unrelated email thread that started more than a month later, Masimo wrote
5    to Apple on December 29, 2022 to discuss financial discovery regarding AirPods. Ex.
6    L. Masimo explained
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13              Id. Masimo stated that, if Apple did not agree, the parties needed to meet
14   and confer. Id.
15         The parties conferred on January 2, 2023. The next day, as part of thread
16   regarding AirPods discovery, Apple reiterated its
17                                        Id., p.1; see also Br. 8:19. Apple also disputed
18   Madisetti’s opinions regarding AirPods:
19
20
21
22
23   Br. 8:20-21.      Apple demanded that Masimo drop its request
24
25                     Id. 8:22-23.
26         Significantly, the emails between Apple and Masimo in early January show at a
27   minimum that Apple knew Masimo’s position was that the question of whether the
28   AirPods use                         would have to be a question for the jury. Compare
                                       -16-
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1    Apple email Jan. 3 with Masimo email Jan. 9 (Supp. Br. at 8). Those are also the same
2    emails leading to the meet and confer on Masimo’s motion for AirPods remedy
3    discovery. Apple waited to see whether its pending summary judgment motion on
4     would be granted.
5          Masimo’s email also referenced Madisetti’s Supplemental Report and Mr. Fu’s
6    testimony. Br. 8:7-9. Masimo also pointed out that, contrary to Apple’s accusation,
7                                                                                            Id.
8    8:9-10. Thus, Apple’s accusation that Masimo did not identify the basis for arguing
9    AirPods use          until January 2023 is false and based on selective citations from
10   separate email chains. Compare Exhs. K & L with Br. at 7 & 8.
11         3.      Apple Improperly Withheld Relevant Discovery
12         Apple admits that Masimo “served broad discovery requests seeking information
13   on products beyond Watch,” but “Apple declined to produce [the requested documents]
14   on the grounds that non-Watch products were irrelevant.” Br. at 3:27-4:2. Thus, rather
15   than produce documents regarding other products, and allow Masimo and its expert to
16   determine whether they evidenced use of Masimo’s trade secrets, Apple engaged in self-
17   help and unilaterally withhold documents based on representing that Apple’s other
18   products did not use any trade secrets. Apple cannot blame Masimo for the falsity of
19   Apple’s representation.     Nor can Apple blame Masimo for not realizing Apple
20   misrepresented the relevance of other products until Apple produced the 175,000
21   documents after the close of fact discovery.
22         4.      Masimo Did Not Limit The Scope of
23         Apple also asserts that Masimo urged Apple to respond to discovery requests
24   using a definition of
25                                            Br. at 4:9-17. That is irrelevant and false. It is
26   irrelevant because
27                 It is false because Apple cites to a discovery letter where Masimo tried to
28   resolve a dispute by suggesting Apple use Apple’s proposed definition of
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2                     (emphasis added)). Masimo never suggested Masimo thought the term,
3    much less
4
5          5.    There Is No Need For Additional Discovery
6          Apple argued that “there would be a whole new dimension to discovery needing
7    to be done on proximity sensing which, again, has been a very old technology.” Hr. Tr.
8    at 49:22-24. Apple is wrong. As discussed above, Masimo is not accusing “proximity
9    sensing.”   Accordingly, Apple does not require additional discovery regarding
10   “proximity sensing.”
11         Apple argues that it “took no written or deposition-based discovery related to
12   AirPods.” Br. at 5:11-12. Apple needs no discovery regarding the technical functioning
13   of the AirPods or the                  because that information is exclusively within
14   Apple’s possession.
15         Apple argues that it has not “identified the engineers or other personnel who could
16   serve as witnesses to explain why any suggestion that the product implicates Plaintiffs’
17   trade secrets is meritless.”   Br. at 5:12-14.   But Apple already served Warren’s
18   November 4, 2022 rebuttal report addressing AirPods’ misappropriation of          Apple
19   fails to explain why it could not have identified its own employees that supported
20   Warren’s rebuttal.
21                                    IV. CONCLUSION
22         Apple was granted leave to address its concerns with the implications for trial of
23   the Court’s order granting Masimo modest discovery regarding AirPods royalties.
24   Apple’s attempt to use its Supplemental Brief to instead seek reconsideration, modify
25   the scheduling order, and upend the trial schedule should be denied.
26   ///
27   ///
28   ///
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1                               CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 5,521 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
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